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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                         MISSOULA DIVISION




                                                 Civil Case No. 9:22-cv-127-
                                                 DWM
 In Re: Conditions at Lake County Jail

                                                 Order Granting Unopposed
                                                 Motion for Extension of Time



      Having considered Defendant Gianforte’s Unopposed Motion for Extension

of Time, and for good cause shown, the Court finds the motion should be

GRANTED. Defendant Gianforte shall have to and including September 8, 2022,

to file his response to the Amended Complaint, (Doc. 8). He shall have to and

including September 6, 2022, to file his response to the Motion to Certify, (Doc.

9), with Plaintiffs’ reply to both Defendants’ responses to the motion extended to

and including September 12, 2022.

Dated: August ________, 2022


                                      _________________________
                                      The Honorable Judge Malloy
                                      United States District Court Judge
